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                          THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

                Plaintiff,
                                                    CIVIL ACTION NO. 1:20-cv-00672-MN
        v.

 MUVI, LLC,

                Defendant.




               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Rothschild Broadcast Distribution Systems, LLC hereby files this Notice of

Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(ii), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Rothschild Broadcast Distribution Systems, LLC hereby voluntarily dismisses this

action against Muvi, LLC with prejudice, pursuant to Rule 41(a)(1)(A)(ii) with each party to bear

its own fees and costs.

Dated: November 24, 2020              Respectfully submitted,


                                      /s/Jimmy Chong
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